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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA



 1) VIDEO GAMING TECHNOLOGIES, INC.,       )
                                           )
                                           )
            Plaintiff,                     )
                                           )
 v.                                        )   Case No. 4:17-cv-00454-GKF-jfj
                                           )
 1) CASTLE HILL STUDIOS LLC                )   REDACTED
    (d/b/a CASTLE HILL GAMING);            )
 2) CASTLE HILL HOLDING LLC                )
    (d/b/a CASTLE HILL GAMING); and        )
 3) IRONWORKS DEVELOPMENT, LLC             )
    (d/b/a CASTLE HILL GAMING)             )
                                           )
            Defendants.                    )



           PLAINTIFF’S REPLY IN SUPPORT OF ITS MOTION FOR LEAVE
                        TO FILE AMENDED COMPLAINT
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                                         INTRODUCTION

         Plaintiff Video Gaming Technologies, Inc. (“VGT”) should be granted leave to amend its

  complaint to add claims for trade secret misappropriation under the federal Defend Trade Secrets

  Act (“DTSA”) and the Virginia Uniform Trade Secrets Act (“VUTSA”), which would

  encompass certain acts of misappropriation that were recently discovered and that appear to be

  outside the scope of VGT’s existing trade secret claim under Oklahoma law.

         In opposing this motion, Defendants do not dispute that there is good cause for amending

  the complaint under Federal Rule of Civil Procedure (“Rule”) 16(b), and they offer no serious

  argument for denying leave to amend under Rule 15. Defendants’ main argument is “futility,”

  but they do not (and cannot) show that the amended complaint fails to state claims under the

  DTSA or the VUTSA—indeed, the Court already ruled that the same factual allegations support

  a claim for relief under the similar provisions of the Oklahoma Uniform Trade Secrets Act

  (“OUTSA”). Dkt. No. 56 at 17–20. Defendants’ delay and prejudice arguments are likewise

  inapt. There is no question VGT raised the             issue (i.e., the issue that led to the need to

  amend the complaint) promptly upon discovering it and has pursued it diligently, and Defendants

  have been on notice of the claim all along. Defendants even thanked VGT in April for a “very

  helpful” explanation that “specifically identified” the basis for the claim. Dkt. No. 74, Sawyer

  Decl. (“Sawyer Decl.”), Ex. M at 1. In short, as Defendants’ own counsel admitted, this issue

  “should be adjudicated in the normal course of this action together with the other claims.”

  Sawyer Decl., Ex. A (May 9 10:38 AM).

         Unable to provide any persuasive reason for denying leave to amend, Defendants spend

  much of the opposition mischaracterizing VGT’s trade secret claims. As to the misappropriation

  of VGT’s             algorithm, there is no dispute that Defendants used and disclosed an

  algorithm remarkably similar to VGT’s, which former VGT engineers had “remembered” from
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  their work at VGT. Dkt. No. 79, Defs.’ Opp’n to Pl.’s Mot. for Leave (hereinafter, “Opp’n”) at

  2. Defendants argue that the algorithm is not a trade secret, but they improperly focus on

  individual elements of this multi-step algorithm in isolation. And they fail to acknowledge that

  one of their own engineers—who worked on the algorithm while at VGT—testified that the

  algorithm was

                       . Declaration of Peter Swanson in Supp. of Pl.’s Mot. for Leave (“Swanson

  Decl.”), Ex. S at 48:25–50:24, 84:18–85:13, 87:12–88:5, 223:9–225:21.

         No doubt recognizing the weakness in their position, Defendants are quick to point out

  that they have “no intention” of deploying any games that include the algorithm. Opp’n at 7.

  But the fact is they used the trade secret internally and disclosed it to a testing lab. Those acts

  alone give rise to liability and damages under federal and Virginia law. And despite repeated

  requests, Defendants have refused to provide an enforceable commitment to cease any further

  use or disclosure of the algorithm and to retrieve and destroy all copies.

         Defendants try to cast this motion as a shift away from VGT’s “original theory,” which,

  Defendants say, focused on the copying of source code. Opp’n at 1. That is not true. VGT filed

  this motion for the simple reason that Defendants were caught before they could use the

       algorithm in Oklahoma, which would have brought it within the scope of the existing

  complaint. As this Court has recognized, the VGT trade secrets described in the complaint are

  not limited to source code, but include, inter alia, “the specifics of the manner in which the bingo

  game is played in the class II games.” Dkt. No. 56 at 19.

         VGT has served interrogatory responses identifying a number of VGT trade secrets and

  confidential information that Defendants have used. Defendants appear to believe they are free

  to use those trade secrets so long as the former VGT employees did not physically abscond with



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  source code or documents. Defendants are wrong. The former VGT employees are bound to

  keep confidential—and not use for Defendants’ benefit—any VGT trade secrets of which they

  have knowledge. Whether they “remembered” the trade secrets, or copied them from a stolen

  VGT document, they are liable for misappropriation. Granting VGT leave to file the amended

  complaint will ensure that all of Defendants’ misappropriation can be resolved in a single case.

                                            ARGUMENT

         Defendants do not dispute that VGT has shown “good cause for seeking modification [of

  the scheduling order] under Fed. R. Civ. P. 16(b)(4).” Pl.’s Mot. for Leave to Amend, Dkt. No.

  73 (hereinafter, “Mot.”), at 8 (quoting Gorsuch, Ltd., B.C. v. Wells Fargo Nat. Bank Ass’n, 771

  F.3d 1230, 1240 (10th Cir. 2014)). They only disagree as to whether the more liberal standard of

  Rule 15 is satisfied. See id.; Opp’n at 9. None of Defendants’ Rule 15 arguments has any merit.

  I.     Defendants’ Futility Arguments Improperly Introduce Matters Outside The
         Pleadings and Mischaracterize The Evidence.

         Defendants first argue that the federal and Virginia trade secret claims are “futile because

  [they] will be subject to dismissal.” Opp’n at 9. Defendants ignore that the Court denied their

  motion to dismiss the existing trade secret claim and held that the allegations in “the Complaint

  state[] a plausible claim for misappropriation of trade secrets” under Oklahoma law. Dkt. No. 56

  at 20. As the Court explained, the Complaint alleges that VGT owns a number of trade secrets

  concerning its bingo games, see id. at 19; and Defendants have misappropriated those trade

  secrets, to VGT’s detriment, through former VGT employees who shared the trade secrets with

  Castle Hill in violation of a duty of secrecy owed to VGT,” see id. at 20.

         These same allegations (along with a few others in the amended complaint) state a

  plausible claim under the DTSA and VUTSA. Like the OUTSA, those statutes require

  allegations that (a) VGT owns a trade secret and (b) Defendants have misappropriated the trade


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  secret. See Space Sys./Loral, LLC v. Orbital ATK, Inc., No. 4:17-cv-00025-RAJ-LRL, 2018 WL

  701280, at *5 (E.D. Va. Feb. 2, 2018) (elements of DTSA claim); id. at *6 (elements of VUTSA

  claim). All three statutes have similar definitions of “trade secrets,” compare Okla. Stat. tit. 78,

  § 86(4) with 18 U.S.C. § 1839(3) and Va. Code Ann. § 59.1-336; and of “misappropriation,”

  compare Okla Stat. tit. 78, § 86(2) with 18 U.S.C. § 1839(5) and Va. Code Ann. § 59.1-336. The

  complaint thus plausibly alleges these DTSA and VUTSA requirements for the reasons the Court

  explained in its order denying the motion to dismiss. Dkt. No. 56 at 19–20. The amended

  complaint also alleges the one additional element of a DTSA claim: the “trade secret that is

  misappropriated . . . is related to a product or service used in, or intended for use in, interstate or

  foreign commerce.” 18 U.S.C. § 1836(b)(1); see also Space Systems, 2018 WL 701280, at *5.

  Here, VGT has alleged that the “VGT Trade Secrets are related to products and services used in

  interstate commerce—i.e., VGT’s games, which are designed, developed, marketed, leased, and

  used across multiple states.” Dkt. No. 71-1, ¶ 45; see also id. ¶ 141. 1

          Defendants do not acknowledge, let alone attempt to distinguish, the Court’s ruling that

  the trade secret allegations are sufficient to state a claim under Oklahoma law. Defendants

  instead rely on matters outside the pleadings, see Opp’n at 4–5 (citing various websites), to raise

  factual disputes concerning the merits of the               issue. Defendants’ arguments fail on the

  merits. But more importantly, none of these factual disputes is properly resolved at the pleadings

  stage. The misappropriation of the                algorithm falls squarely within the trade secret

  allegations that the Court previously found sufficient: the former VGT employees knew about


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    Contrary to Defendants’ suggestion (Opp’n at 10), the relevant inquiry under the DTSA is
  whether the trade secret owner (not the defendant) has used the trade secret in interstate or
  foreign commerce. See 18 U.S.C. § 1836(b)(1); Space Systems, 2018 WL 701280, at *6. In any
  event, the amended complaint alleges that Defendants’ misappropriation of the
  algorithm and other trade secrets has occurred in interstate commerce. Dkt. No. 71-1, ¶ 100.

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  the algorithm and were obligated to keep it secret, yet they used the algorithm in their work for

  Defendants. Dkt. No. 56 at 20. Accordingly, VGT “ought to be afforded an opportunity to test

  [its] claim on the merits.” Foman v. Davis, 371 U.S. 178, 182 (1962).

         VGT addresses Defendants’ specific arguments below.

         First, Defendants distort the nature of VGT’s algorithm in order to claim (incorrectly)

  that the algorithm is generally known. For example, contrary to Defendants’ assertions, Opp’n at

  4, VGT does not contend that the                                alone is a trade secret. See Sawyer

  Decl., Exs. G & N. Rather, VGT’s trade secret lies in its multi-step algorithm



                                                                               See id. The

                  is but one component of this multi-step process. See id.

         “The fact that some or all of the components of the trade secret are well-known does not

  preclude protection for a secret combination, compilation, or integration of the individual

  elements.” Restatement (Third) of Unfair Competition § 39 (1995); see also Hertz v. Luzenac

  Group, 576 F.3d 1103, 1109 (10th Cir. 2009) (applying same rule in a UTSA jurisdiction).

  While Defendants strain to find individual components of VGT’s algorithm in public sources—

  none of which relate to        —Defendants provide no evidence that the entirety of VGT’s

  algorithm is generally known. To the contrary, Paul Suggs,

                                                        , see Swanson Decl., Ex. S at 48:25–50:24,

  223:9–225:21, conceded that VGT’s algorithm was

                                         , see id. at 85:15–21.

         Second, Defendants inaccurately assert that VGT “has no evidence . . . that Castle Hill

  developed its                         algorithm based on information stolen, taken, or otherwise



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  copied from VGT.” Opp’n at 11. To the contrary, Mr. Suggs

                          testified that he

                                                                                    . Swanson Decl.,

  Ex. S at 48:25–50:24. And Mr. Suggs conceded that Defendants’




  Id. at 223:9–226:3.

         Defendants’ trade secret liability does not turn on whether the former VGT employees

  committed a physical theft. “An agent is not free to use or disclose a principal’s trade secrets”

  by “retain[ing] them in the agent’s memory,” because “[f]eats of human memory . . . should not

  be privileged as instruments of disloyal conduct.” Restatement (Third) Of Agency § 8.05, cmt. c

  (2006). 2 “The Uniform Trade Secrets Act does not distinguish between written and memorized

  information,” and it “does not require a plaintiff to prove actual theft or conversion of physical

  documents.” Ed Nowogroski Ins., Inc. v. Rucker, 971 P.2d 936, 946 (Wash. 1999) (analyzing

  statutory text virtually identical to text in the VUTSA and OUTSA); accord Central Plastics Co.

  v. Goodson, 537 P.2d 330, 334 (Okla. 1975) (adopting same rule under common law).

         Defendants further obfuscate the issue by suggesting that the original complaint was

  limited to allegations of source code copying. See Opp’n at 1. That is not so. As the Court




  2
    See also Restatement (Third) of Unfair Competition § 42, Reporters’ Note, cmt. d (1995)
  (“[T]he defendant’s reliance on memory is not a defense if the information is in fact a trade
  secret.”); 4 Milgrim on Trade Secrets App. 15A (2018), reprinting D. Bender, “Trade Secret
  Protection of Software,” 38 Geo. Wash. L. Rev. 909, 938–941 (1970) (noting that this rule
  applies “especially [to] technological trade secrets”).

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  recognized in its order on the motion to dismiss, the Complaint identified categories of trade

  secrets other than source code, including “the specifics of the manner in which the bingo game is

  played in the class II games.” Dkt. No. 56 at 19. While these particular methods and techniques

  may be embodied in source code (e.g., the source code that implements the

  algorithm), they can be misappropriated without copying the code itself. See 18 U.S.C. 1839(3),

  (5)(B); see also Okla. Stat. tit. 78, § 86(2), (4); Virginia Code Ann. § 59.1-336.

         Third, Defendants dispute whether VGT adequately secured its algorithm, claiming

  (erroneously) that the algorithm has been “sent out into the world.” Opp’n at 6–7. Defendants

  misinterpret testimony that VGT makes                                                        , see

  Antonelli Decl. (Dkt. No. 80), Ex. B at 126:4–6, to mean that a different type of

                        which describes its              algorithm—is also made available to

  operators. That is incorrect. The                      is not given to operators (or anyone without

  a confidentiality agreement), as VGT explained in a recent interrogatory response. In fact, Mr.

  Suggs conceded that the

                                          Swanson Decl., Ex. S at 84:18–85:13, 87:12–88:5. 3

         Fourth, Defendants contend that because they have stopped misappropriating VGT’s

  algorithm (after being caught), VGT is not entitled to any relief. Opp’n at 10–11. This

  overlooks the past misappropriation—i.e., Defendants’ internal use of the algorithm and

  disclosure to a third-party testing lab. Dkt. 71-1, ¶ 100. This gives rise to liability under the



  3
    Defendants also attempt to draw inferences from stock language on the copyright page stating
  the
           Antonelli Decl., Ex. C, VGT0001789. But
                               Further, the

                                       Antonelli Decl., Ex. C, VGT0001789.


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  DTSA and the VUTSA, both of which allow VGT to recover damages, including at least “a

  reasonable royalty for the misappropriator’s unauthorized disclosure or use of the trade secret.”

  18 U.S.C. § 1836(b)(3)(B); Va. Stat. Ann. § 59.1-338(A). 4

         Further, the fact that Defendants have allegedly ceased testing or use of the algorithm

  does not deprive the Court of jurisdiction to issue injunctive or declaratory relief. As the

  Supreme Court has explained: “[A] defendant cannot automatically moot a case simply by

  ending its unlawful conduct once sued. . . . . Otherwise, a defendant could engage in unlawful

  conduct, stop when sued to have the case declared moot, then pick up where he left off, repeating

  this cycle until he achieves all his unlawful ends.” Already, LLC v. Nike, Inc., 568 U.S. 85, 91

  (2013); see also InnoSys, Inc. v. Mercer, 364 P.3d 1013, 1023–24 (Utah 2015) (applying rule to

  trade secret action where defendant stopped further misappropriation). While Defendants state

  they have “no intention” of further using or disclosing the algorithm, Opp’n at 10, this is not a

  binding commitment. See Ind v. Colorado Dep’t of Corr., 801 F.3d 1209, 1213 (10th Cir. 2015)

  (voluntary cessation does not moot case unless the “interim relief or events have completely and

  irrevocably eradicated the effects of the alleged violation” (emphasis added)). Nor does this

  “completely . . . eradicate[] the effects of the [misappropriation],” id., as Defendants have not

  agreed to destroy all copies of the algorithm or notify the testing lab of VGT’s trade secret claim,

  let alone obtain assurances against further dissemination. See 4 Milgrim on Trade Secrets §15.02

  (2018) (“[I]t is axiomatic that unprotected disclosure of a trade secret destroys the secret.”).



  4
    Defendants improperly accuse VGT of falsely alleging in the amended complaint that
  Defendants have received revenues and profits from the use of the                algorithm. See
  Opp’n at 10–11. The amended complaint contains no such allegation. The allegation that
  Defendants selectively quote in their opposition does not refer to, and is not limited to, the
  misappropriation of the            algorithm, but rather it encompasses each of the VGT trade
  secrets that Defendants have misappropriated, including those in Defendants’ deployed games
  for which they have indisputably obtained revenue. Dkt. No. 71-1 ¶¶ 147, 157.

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   II.    VGT Acted Diligently In Seeking Leave To Amend.

          Defendants do not dispute that (a) their misappropriation of the            algorithm was

   not disclosed in discovery until March 2018, Mot. at 4; (b) VGT raised the issue almost

   immediately, id. at 6; and (c) the parties subsequently engaged in discussions and discovery on

   this issue up until the time VGT filed the present motion, id. at 6, 19. Yet Defendants claim

   VGT should have filed the motion sooner. Opp’n at 12. There is no merit to this contention.

          As an initial matter, even assuming that VGT could have sought leave to amend based

   solely on the document produced in March 2018, there is nothing unreasonable about seeking

   leave to amend within two months “from the time when the facts upon which the amendment is

   based became known to the movant.” Bales v. Green, No. 16-CV-106-GKF-JFJ, 2018 WL

   840762, at *2 (N.D. Okla. Feb. 13, 2018). In Bales, this Court permitted an amendment

   requested within 100 days of a change in the governing law. See id.

          Here, VGT sought to investigate the issue and confer with Defendants before seeking

   leave to amend. It was Defendants, not VGT, who repeatedly slowed down this process:

          •   Defendants did not respond substantively to VGT’s March 22 letter until twelve days
              later, see Sawyer Decl., Ex. K, and waited another ten days to produce source code
              and documents, see Sawyer Decl. ¶ 17.

          •   Following depositions on April 19 and 24 that addressed this trade secret issue, VGT
              sent Defendants a letter on April 25. Sawyer Decl., Ex. N. Defendants did not
              respond until May 9—two weeks later. Sawyer Decl., Ex. A (May 9 10:38 AM).

          •   The same day, VGT asked Defendants to consent to the amended complaint. Id.
              (May 9 2:09 PM). Defendants failed to provide their position until May 18—nine
              days after VGT’s initial request. Id. (May 18 7:19 PM).

          Unable to seriously dispute VGT’s diligence, Defendants resort to complaining about

   VGT’s “litigation strategy.” Opp’n at 13. This is baseless. VGT adequately pled a trade secret

   claim, and during discovery, VGT has identified several specific trade secrets that Defendants



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   have misappropriated. This “litigation strategy,” which has uncovered trade secret violations, is

   precisely what the Rules contemplate. 5

   III.   Defendants Are Not Prejudiced By The Amendment.

          Defendants’ argument on prejudice similarly misses the mark. Defendants assert that

   VGT “delayed actually explaining the basis [for the misappropriation of the

   algorithm] for several months,” which “impacted [Defendants’] ability to understand VGT’s

   claim.” Opp’n at 13. That is not accurate. In an April 11 letter, VGT included a chart

   comparing Defendants’ algorithm to VGT’s algorithm, along with citations to supporting

   documents. Sawyer Decl., Ex. G at 2. In response, Defendants’ counsel admitted that VGT’s

   “specific[]” explanation was “helpful”:

                  We appreciate the effort you have made to specifically identify in
                  your chart the steps in CHG’s unused
                  process that you believe to be “similar” to VGT’s
                             process. It was very helpful.

   Sawyer Decl., Ex. M at 1 (emphasis added).

          Defendants have been free to depose VGT’s witnesses on this issue—which Defendants’

   counsel previously said should “be adjudicated in the normal course of this action together with

   the other claims.” Sawyer Decl., Ex. A (May 9 10:38 AM). That Defendants have chosen not to

   pursue this issue, see Opp’n at 14, is a problem of their own making.

                                             CONCLUSION

          For the foregoing reasons, VGT respectfully requests that this Court grant leave to file its

   Amended Complaint against Defendants.



   5
     Defendants assert, without support, that VGT has not identified its claims with specificity.
   Opp’n at 13. Not so. Following the entry of a protective order on December 22, VGT served an
   interrogatory response identifying a number of its trade secrets. Sawyer Decl., Ex. C. VGT has
   subsequently served responses identifying trade secrets that Defendants have misappropriated.

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   Dated: June 25, 2018                /s/ Peter A. Swanson
                                       Graydon Dean Luthey, Jr., OBA No. 5568
                                       GABLE GOTWALS
                                       1100 ONEOK Plaza
                                       100 West Fifth Street
                                       Tulsa, OK 74103-4217
                                       Telephone: (918) 595-4821
                                       Facsimile: (918) 595-4990
                                       dluthey@gablelaw.com

                                       Gary M. Rubman
                                       Peter A. Swanson
                                       Michael S. Sawyer
                                       Rebecca B. Dalton
                                       COVINGTON & BURLING LLP
                                       One CityCenter
                                       850 Tenth Street, NW
                                       Washington, D.C. 20001-4956
                                       Telephone: (202) 662-6000
                                       Facsimile: (202) 778-5465
                                       grubman@cov.com
                                       pswanson@cov.com
                                       msawyer@cov.com
                                       rdalton@cov.com
                                         (admitted pro hac vice)

                                       Neil K. Roman
                                       COVINGTON & BURLING LLP
                                       The New York Times Building
                                       620 Eighth Avenue
                                       New York, NY 10018-1405
                                       Telephone: (212) 841-1221
                                       Facsimile: (212) 841-1010
                                       nroman@cov.com
                                         (admitted pro hac vice)

                                       Counsel for Video Gaming Technologies, Inc.




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on June 25, 2018, I filed the foregoing via CM/ECF, which caused

   the foregoing to be served on the following counsel for Defendants:

   Robert C. Gill
   Thomas S. Schaufelberger
   Matthew J. Antonelli
   SAUL EWING ARNSTEIN & LEHR, LLP
   1919 Pennsylvania Avenue, NW, Suite 550
   Washington, D.C. 20006
   (202) 295-6605
   (202) 295-6705 (facsimile)
   robert.gill@saul.com
   tschauf@saul.com
   matt.antonelli@saul.com

   Sherry H. Flax
   SAUL EWING ARNSTEIN & LEHR, LLP
   500 E. Pratt Street, Suite 900
   Baltimore, Maryland 21202
   (410) 332-8764
   (410) 332-8785 (facsimile)
   sherry.flax@saul.com

   James C. Hodges, OBA 4254
   JAMES C. HODGES, PC
   2622 East 21st Street, Suite 4
   Tulsa, OK 74114
   Telephone: (918) 779-7078
   JHodges@HodgesLC.Com

   Duane H. Zobrist
   Jonathan S. Jacobs
   ZOBRIST LAW GROUP PLLC
   1900 Arlington Blvd. Suite B
   Charlottesville, VA 22903
   Telephone: (434) 658-6400
   dzobrist@zoblaw.com
   jjacobs@zoblaw.com

   Attorneys for Defendants
                                                                            /s/ Michael S. Sawyer




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